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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 GEORGE BURNS,

                                 Plaintiff,

                     -against-                                   1:20-CV-7413 (CM)

 RANDALL RICHARDS, ESQ., 18TB                                    CIVIL JUDGMENT
 ATTORNEY,

                                 Defendant.

       Pursuant to the order issued November 4, 2020, dismissing this action without prejudice,

       IT IS ORDERED, ADJUDGED, AND DECREED that this action is dismissed without

prejudice under the “three-strikes” provision in 28 U.S.C. § 1915(g). Plaintiff continues to be

barred from filing any federal civil action under the in forma pauperis statute while he is a

prisoner unless he is under imminent danger of serious physical injury. See § 1915(g).

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

       IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

 Dated:    November 4, 2020
           New York, New York

                                                           COLLEEN McMAHON
                                                       Chief United States District Judge
